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                IN THE UNITED STATES DISTRICT COURT                     FIlED
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION                             JUl23 2018
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                                                                               Geeat Falls
 UN1TED STATES OF AMERICA,                           CR-18-14-GF-BMM

              Plaintiff,

        vs.                                                 ORDER

 STANLEY PATRICK WEBER,

              Defendant.


      The Court has reviewed Defendant Stanley Weber's Unopposed Motion to

Transfer to South Dakota for Trial. (Doc. 62.) The record in this case reflects that

Mr. Weber was indicted in the District of Montana on February 7, 2018. (Doc. 1.)

Mr. Weber was indicted for conduct that allegedly occurred in Montana. [d. The

alleged victims additionally resided in Montana within the exterior boundaries of

the Blackfeet Indian Reservation at time ofthe alleged abuse. ld.

      The Court has continued this trial several times at both the request of the

Government and Mr. Weber. The Court originally set trial on May 14, 2018,

pursuant to the Speedy Trial Act. (Doc. 13.) Mr. Weber filed a motion to continue

the trial on April 13, 2018. (Doc. 30.) The Court granted the motion and reset the

trial for June 25, 2018. (Doc. 34.)

      The Court set the motions hearing for May 30, 2018. (Doc. 44.) The

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Government requested and the Court granted a second continuance of the trial,

motions hearing, and all remaining pre-trial deadlines on May 21,2018. (Doc. 46.)

The motions hearing was reset for June 26, 2018. Id. The trial was reset for August

6,2018.Id.
      Mr. Weber subsequently requested and the Court granted a second

continuance of the motions hearing on June 22, 2018. (Doc. 48.) The trial date

remained August 6, 2018. Id. The Court held the motions hearing on July 10,2018.

(Doc. 50.) At the motions hearing, no party represented to the Court that they

anticipated filing a motion to continue the trial. Mr. Weber filed a second motion

to postpone the trial date indefinitely until the South Dakota charges were resolved

on July 13,2018. (Doc. 52.) The Court denied this motion. (Doc. 53.)

      The alleged conduct at issue in this case occurred between 1993 and 1995.

(Doc. 1.) No reason exists to continue to delay the outcome of this proceeding as

the alleged conduct took place decades ago. Further, these allegations should come

as no surprise to Mr. Weber as evidenced by his resignation from the Indian Health

Service in Pine Ridge, South Dakota on approximately May 15,2016. (Doc. 50 at

3.) Mr. Weber was indicted on similar charges in the District of South Dakota on

February 22,2017. Indictment, United States v. Stanley Patrick Weber, No. 5:17­

cr-50033-JL V (D.S.D. February 22, 2017). No danger of surprise exists further to

Mr. Weber as he admitted in his motion that the "information that precipitated the


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present case derives from the investigation in South Dakota." (Doc. 62 at 1.)

        The Government should not have indicted Mr. Weber in Montana if the

Government does not want to try this case in Montana. The Government continues

to possess the option to dismiss the Indictment if they so choose.

        The Court will not grant any more continuances or transfers absent

extraordinary circumstances. The Court finds it hard to conceive of any

extraordinary circumstances that could arise at this point. The Motions deadline

has long passed on July 6, 2018. (Doc. 46.) The Plea Agreement or Notice ofIntent

to Proceed to Trial deadline remains today, July 23, 2018. Id. Mr. Weber

possesses two options: go to trial to defend himself ofthese charges or change his

plea.

        Accordingly, IT IS HEREBY ORDERED that the Unopposed Motion to

Change Venue to South Dakota (Doc. 62) is DENIED.

        DATED this 23rd day of July, 2018.




                                                                ,


                  Brian Morris
                  United States District Court Judge




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